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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


UNITED STATES of AMERICA


                                               Criminal# 04-609 (KSH)

             v.

Elizabeth Olaya                                        ORDER




             Defendant Elizabeth Olaya (“Olaya”) was sentenced by the undersigned

on September 6, 2006 and currently is on supervised release in the Eastern District of

New York. Her supervising probation officer has notified this Court that Olaya has

requested permission to travel to Colombia, South America to attend funeral services

for her brother. Olaya intends to stay with relatives at 30 #3579 Barrio La Gran,

Columbia, and to return no later than January 15, 2009. Her supervising probation

officer does not object to this travel request. Good cause appearing,

             It is on this 8th day of January, 2009,

             ORDERED that U.S. Pretrial Services and/or the U.S. Probation

Department shall forthwith release Olaya’s passport so that she can travel to Colombia,

South America, to attend her brother’s funeral. Upon her return, defendant shall

surrender her passport to her probation officer in this District, USPO Albert Figueroa.

                                             /s/ Katharine S. Hayden

                                             KATHARINE S. HAYDEN, U.S.D.J.
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